                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


AARON RICH,

          Plaintiff,

vs.
                                                   Case No. 1:18-cv-000681
EDWARD BUTOWSKY, MATTHEW
COUCH, AMERICA FIRST MEDIA
and THE WASHINGTON TIMES,

         Defendants



      MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION

       NOW COMES Defendant Edward Butowsky, moving the Court to dismiss the

claims against him pursuant to Fed. R. Civ. P. 12(b)(2) for lack of personal jurisdiction:

                                    INTRODUCTION

       Mr. Butowsky is a resident of Texas who does not have any business relationship

with the District of Columbia or its residents. The Plaintiff's COMPLAINT offers

conclusory allegations of a wide-ranging conspiracy that involves one Defendant in D.C.,

namely The Washington Times, but the COMPLAINT fails to establish personal jurisdiction

over Mr. Butowsky. According to the longstanding case law of this jurisdiction, the Court

cannot assert personal jurisdiction over Mr. Butowsky simply because he communicated

by telephone with a writer or reporter for a D.C. publication while he (i.e., Mr.

Butowsky) was elsewhere.



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                                       ARGUMENT

       Under the heading of “Jurisdiction and Venue,” the Plaintiff makes a boilerplate

accusation against all Defendants collectively: “Defendants have regularly done or

solicited business in the District of Columbia; Defendants have engaged in a persistent

course of conduct in the District of Columbia; and Defendants derive substantial revenue

from goods used or consumed, or services rendered in the District of Columbia.”

COMPLAINT 11, ¶22. These conclusory accusations are completely false with respect to

Mr. Butowsky, see DECLARATION OF EDWARD BUTOWSKY (“DECLARATION”) (Exhibit

1), and they do not establish personal jurisdiction:

       On a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(2), the
       plaintiff bears the burden of establishing a factual basis for the court's exercise of
       personal jurisdiction over the defendant. Crane v. N.Y. Zoological Soc'y, 894 F.2d
       454, 456 (D.C.Cir.1990). The plaintiff must allege specific acts connecting the
       defendant with the forum. Second Amendment Found. v. U.S. Conference of
       Mayors, 274 F.3d 521, 524 (D.C.Cir.2001); see First Chi. Int'l v. United Exchange
       Co., 836 F.2d 1375, 1378 (D.C.Cir.1988) (“[T]he general rule is that a plaintiff
       must make a prima facie showing of the pertinent jurisdictional facts.”). Bare
       allegations and conclusory statements are insufficient. Second Amendment, 274
       F.3d at 524. Further, a plaintiff cannot aggregate factual allegations concerning
       multiple defendants in order to demonstrate personal jurisdiction over any single
       defendant. See Rush v. Savchuk, 444 U.S. 320, 331–32, 100 S.Ct. 571, 62 L.Ed.2d
       516 (1980).

       In determining whether a factual basis for personal jurisdiction exists, the court
       should resolve factual discrepancies appearing in the record in favor of the
       plaintiff. Crane, 894 F.2d at 456. However, the court need not treat all of the
       plaintiff's allegations as true. Plesha v. Ferguson, 760 F.Supp.2d 90, 92
       (D.D.C.2011). Instead, the court “may receive and weigh affidavits and any other
       relevant matter to assist it in determining the jurisdictional facts.” Id. (internal
       quotation marks and citation omitted).




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Hourani v. Psybersolutions LLC, 164 F. Supp. 3d 128, 135–36 (D.D.C. 2016), aff'd, 690

F. App'x 1 (D.C. Cir. 2017). The Plaintiff makes only one specific factual allegation for

purposes of establishing jurisdiction over Mr. Butowsky, namely that Mr. Butowsky

“encouraged the publication of defamatory content about the Plaintiff in [a] D.C.-based

publication.” COMPLAINT 10, ¶20. That allegation is likewise false, and it fails as a

matter of law to establish jurisdiction over Mr. Butowsky.

       Mr. Butowsky communicated by telephone with the author of the column

referenced in Paragraph 9 of the COMPLAINT, and Mr. Butowsky was not in D.C. at the

time of those communications. DECLARATION ¶7. The D.C. Circuit has long held that

communications from outside D.C. into D.C. cannot form the basis for personal

jurisdiction:

       Plaintiffs contend that the defendant's utterance of the defamatory statements in
       the course of telephone communications between him in Massachusetts and New
       York and individuals within the District is sufficient to establish personal
       jurisdiction for purposes of the present suit. We think otherwise. The defendant's
       telephone conversations do not amount to tortious acts within the District of
       Columbia necessary to satisfy the requirements of subsection (a)(3). Margoles v.
       Johns, 483 F.2d 1212 (D.C.Cir.1973), presented a comparable situation. There the
       plaintiff brought an action for allegedly slanderous comments made in the course
       of telephone calls placed by the defendant from her office in Wisconsin to the
       District of Columbia. We rejected the contention that those calls amounted to
       tortious acts in the District of Columbia, concluding that “[u]nless we wish to
       delve into a magical mystery tour of ‘projecting presences,’ we must find that no
       jurisdiction can be afforded by virtue of section (a)(3).” Id. at 1218. Because all of
       defendant Comnas's acts with respect to the telephone calls took place outside of
       the District, we find that they do not satisfy (a)(3).

       Plaintiffs assert that the telephone conversations in this case nonetheless satisfy
       (a)(4), since their frequency makes them “a persistent course of conduct.” It may
       indeed—but not, as the statute requires, “a persistent course of conduct in the
       District.” The same non-presence within the District that prevents the calls from

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       being an “act within the District” for purposes of (a)(3) prevents them from being
       a “course of conduct in the District” for purposes of (a)(4). The Margoles court
       considered and rejected a similar argument. Margoles v. Johns, supra, 483 F.2d at
       1218 n. 10.

Tavoulareas v. Comnas, 720 F.2d 192, 193–94 (D.C. Cir. 1983). This Court recently held

that “[p]ublishing defamatory statements within the District that were made outside the

District does not meet the terms of § 13-423(a)(3) or (4)” of the District's long-arm

jurisdiction statute, Hourani v. Psybersolutions LLC, 164 F. Supp. 3d 128, 138 (D.D.C.

2016), aff'd. 690 F. App'x 1 (D.C. Cir. 2017), ergo any statements that Mr. Butowsky

made from Texas to The Washington Times or its writer cannot establish jurisdiciton in

D.C. Meanwhile, the Plaintiff did not suffer any injury in D.C. because “[i]n defamation

actions, the injury is deemed to occur where the defamed person is located,” Etchebarne-

Bourdin v. Radice, 982 A.2d 752, 763 (D.C. 2009), citing Keeton v. Hustler Magazine,

Inc., 465 U.S. 770, 780, 104 S.Ct. 1473, 79 L.Ed.2d 790 (1984), and the Plaintiff is

located in Colorado. COMPLAINT 7, ¶13.




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                                   CONCLUSION

      This Court lacks personal jurisdiction over Mr. Butowsky and the claims against

him should be dismissed.

                                       Respectfully submitted,

                                       Respectfully submitted,

                                       /s/     Kenneth A. Martin

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                           CERTIFICATE OF SERVICE

      I certify that I filed the foregoing document on May 17, 2018 using the Court's
ECF system, which automatically provides notice to Plaintiff's Counsel and counsel for
The Washington Times. I further certify that a copy of the foregoing document was
provided to Defendants Matt Couch and America First Media via email to
mattcouch@af-mg.com on May 17, 2018.


                                        /s/ Kenneth A. Martin
                                        Kenneth A. Martin




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